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United States of America

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Department of the Treasury
Internal Revenue Service

Date: August 3, 2021
CERTIFICATE OF OFFICIAL RECORD

| certify that the annexed: a true copy of a negotiated tax refund check which was
issued by the United States Treasury, retrieved from the Treasury Check Information
System (TCIS) and maintained by Financial Management Services, an agency in the
Treasury Department to Burgess Mattox Bey Investment Tr, EIN: XX-XXXXXXX, on

February 27, 2018 in the amount of $2,571,/783.77 for tax period 2015, consisting of
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area
under the custody of this office.

IN WITNESS WHEREOF, | have hereunto
set my hand, and caused the seal of this
office to be affixed, on the day and year
first above written.

By the direction of the Secretary of the Treasury:

Jay Elton
Supervisory Investigative Analyst

Internal Revenue Service-Criminal Investigation
Delegation Order 11-5

GOVERNMENT
EXHIBIT

Catalog Number 19002E *U.S. GPO: 1997-417-690/61741
RAM 08/03/2021
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HOLD TO Lies TO VERIFY i WATERMARK

Forgery of endorsements on Treasury Checks is a Federal
crime. Maximum penaliy is a $10,000 fine and ten years
imprisonment.

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